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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


  UNITED STATES SECURITIES AND EXCHANGE
  COMMISSION,
                                                             Civil No. 1:17-CV-04179-DLC
         Plaintiff,
                                                            Honorable Judge Denise L. Cote
  v.                                                        Magistrate Judge Ronald L. Ellis

  ALPINE SECURITIES CORPORATION,                               RULE 7.1 STATEMENT

         Defendant.


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Alpine Securities

Corporation (“Alpine”), by and through undersigned counsel appearing for the limited purpose

of contesting jurisdiction, states that its parent company is SCA Clearing & Holding Group and

that there is no publicly held corporation owning 10% or more of Alpine.

       DATED this 3rd day of August, 2017.

                                            /s/ Brent R. Baker
                                            Brent R. Baker (BB 8285)
                                            Aaron D. Lebenta (Pro Hac Vice Pending)
                                            Jonathan D. Bletzacker (Pro Hac Vice Pending)
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